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AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case


                                     UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                V.                                  (For Offenses Committed On or After November 1, 1987)

        LUZ DEL CARMEN ZAMUDIO-GONZALEZ                                Case Number: 18CR5409-BLM

                                                                    Nancee S. Schwartz, CJA
                                                                    Defendant’s Attorney
REGISTRATION NO.                81510298
☐   _

The Defendant:

☒ pleaded guilty to count(s)         One (1) of Superseding Misdemeanor Information

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                   Nature of Offense                                                                  Number(s)
8 U.S.C. 1325; 18 U.S.C. 2        Illegal Entry (Misdemeanor); Aiding and Abetting                                      1
                                  (Misdemeanor)




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.


☐ The defendant has been found not guilty on count(s)
☒ Count(s) Underlying Information (Felony)                    are   dismissed on the motion of the United States.

        Assessment :
☒       Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is
        waived and remitted as uncollectible.

☒ No fine                     ☐ Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    October 20, 2020
                                                                    Date of Imposition of Sentence



                                                                    HON. BARBARA LYNN MAJOR
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                    18CR5409-BLM
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AO 245B (CASD Rev. 08/14) Judgment in a Petty Criminal Case

DEFENDANT:                LUZ DEL CARMEN ZAMUDIO-GONZALEZ                                          Judgment - Page 2 of 2
CASE NUMBER:              18CR5409-BLM

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED.




 ☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ☐     The court makes the following recommendations to the Bureau of Prisons:




 ☐     The defendant is remanded to the custody of the United States Marshal.

 ☐     The defendant shall surrender to the United States Marshal for this district:
       ☐     at                             P.M.              on
       ☐     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 ☐
       Prisons:
       ☐     on or before
       ☐     as notified by the United States Marshal.
       ☐     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      18CR5409-BLM
